Dear Ms. Albritton:
Your request for an opinion of the Attorney General has been referred to me for attention. Your question is whether a commissioner of the Housing Authority of the City of Bunkie can run for a seat on the City Council and remain on the Board of the Housing Authority until the election, and if elected, continue to serve as commissioner.
The commissioners of the Housing Authority for the City of Bunkie are appointed by the mayor, receive no pay and the Housing Authority receives no funds from the City nor State. The Board of Commissioners is the independent governing body over the Housing Authority.
The dual officeholding statute, R.S. 42:63 (D), prohibits one holding an elective office in a political subdivision of this State from holding at the same time another elective office or full-time appointive office in the government of this State or a political subdivision thereof. An appointment as commissioner of the Housing Authority for the City of Bunkie. not being a full-time appointive office, therefore, would not be prohibited under this statute.
Accordingly, we must conclude that a commissioner on the Board of the Housing Authority may not only remain in office while seeking election to a seat on the City Council. but may retain the part-time appointment, if elected.
We hope this sufficiently, answers your question, but if we can be of further assistance, please do not hesitate to contact us.
Sincerely yours,
                                       WILLIAM J. GUSTE. JR. Attorney General
By: BARBARA B. RUTLEDGE
Assistant Attorney General BRB:atb *Page 1 
OPINION NUMBER 98-149
February 24, 1999
78 DUAL OFFICEHOLDING LSA-R.S. 40:531(A); R.S. 42:62(4) Ms. Donna Taylor             and (5); R.S. 40:530
St. Landry Parish Housing Authority                   Elected city councilman may also Post Office Box 276          hold part-time appointed position as Washington, LA 70589         commissioner of parish housing authority.